D C. -F.r.ED EJ»’_,_CJLB¢~D.C.

IN THE UNITED sTATEs DISTRICT coURT 2: 32
05 JUN 27 AWHR@FHE WESTERN DISTRICT oF TEI\II\IESSE!§{"]5 ‘11‘1“ 21 1111

Case 2:05-cr-20 36-STA Document 36 Filed 06/27/05 Page 1 of 3 Page|D 23
Fll,ED E-Y _CY£..”

 

 

WESTERN DIVISION ROW_ ;- ;:; ,‘.§OL§O
ROBPFFT§QD` ~ 11391'10 cLERi< 03 513 jng
WLb_U OF ']'N M._MPH!S W..D Ul' \l\i. ‘.-'“'\\ '.‘_-.Ivl l
UNITED STATES OF AMERICA,
Plaintiff
VS. NO. 05-20036
MOT| DEN|ED
BOOKER T. GOLDEN, _ 2 bear
Defendant , /
t_._l

 

 

MOTION TO ALLOW DEFENDANT TO TRAVEL OF JURISDICTION

 

Comes now your Defendant, Booker 'I`. Golden, and would request this
Honorable Court to allow him to travel out of the Court’s jurisdiction to a family
reunion July 1, 2005 through July 2, 2005 in Sardis, Mississippi and July 3, 2005 in
Crenshaw, Mississippi and returning horne ]uly 4, 2005.

WHEREFORE, PREMISES CONSIDERED, your Defendant prays that he be
allowed to travel to a family reunion July 1, 2005 through July 2, 2005 in Sardis,
Mississippi and July 3, 2005 in Crenshaw, Mississippi and returning home July 4,
2005. 1

RESPECTPULLY SUBMITTED

TH AG LAW PIRM

 

Tward L. Wagerman
ttorney for Defendant
200 Jefferson, Suite 1313
Memphis, TN 38103
527-0644

This document entered on the docket sheet in compllance
with Rule 55 and/or 32(b) FF\CrP on

Case 2:05-cr-20036-STA Document 36 Filed 06/27/05 Page 2 of 3 Page|D 24

CERTIFICATE OF SERVICE
I certify that a copy of the foregoing Motion was furnished to Mr. Leonard

/
Lucas, Asst. U.S. Attorney, 167 N. Main, Sth Floor, Memphis, TN 38103 on the Zl“

day of June, 2005.

THE WAGERMAN LAW FIRM

 

ISTRIC COUR - WESTERN D's'TRCT oFTENNEssEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 36 in
case 2:05-CR-20036 Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

 

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Honorable J. Breen
US DISTRICT COURT

